                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF WISCONSIN

UNITED STATES OF AMERICA,

                      Plaintiff,

               v.                                           Case No. 12-CR-124

ZACHARY ROYSTER,

                      Defendant.


             ORDER DENYING MOTION FOR RECONSIDERATION AND
                          TO MODIFY SENTENCE


       Defendant has filed a motion asking the court to reconsider his sentence. The court

imposed a significantly under-guideline sentence of four months in the custody of the Bureau of

Prisons revoking his supervised release. The Revocation Report from Probation indicated at the

time that the defendant would receive 72 days credit toward his federal sentence. In fact, because

most of the time in custody was due to state charges, he received only 30 days credit towards his

federal sentence. Defendant contends that the court believed he would receive 72 days credit at

the time of his sentencing and, therefore, should reduce his sentence accordingly.

       The motion is denied. Four months is a reasonable sentence. In fact, one would argue a

lenient sentence for the violations committed by the defendant. The fact that he did not receive

credit because of his separate and independent state charges does not warrant a reduction of his

federal sentence. Accordingly, the motion is denied.

       SO ORDERED at Green Bay, Wisconsin this 17th day of September, 2020.

                                                    s/ William C. Griesbach
                                                    William C. Griesbach
                                                    United States District Judge




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